UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 KIRAN VUPPALA,                                                                23 Civ. 00154 (LGS)
      Plaintiff,

 vs.                                                                              CIVIL CASE
                                                                               MANAGEMENT PLAN
 FELIX ROASTING CO., a New York                                                 AND SCHEDULING
 corporation, d/b/a FELIX ROASTING CO.,                                              ORDER
 and LAFAYETTE-ASTOR ASSOCIATES,
 L.L.C., a New York limited liability company,

          Defendants.
 .
------------------------------------------------------------------X
 LORNA G. SCHOFIELD, United States District Judge:

         This Civil Case Management Plan is submitted by the parties in accordance with Fed. R.
 Civ. P. 26(f)(3).

 1.       All parties [consent        / do not consent √      ] to conducting all further
          proceedings before a United States Magistrate Judge, including motions and trial. See
          28 U.S.C. § 636(c). The parties are free to withhold consent without adverse substantive
          consequences. [If all parties consent, the remaining paragraphs need not be completed.]

 2.       The parties [have        √    / have not            ] conferred pursuant to Fed. R. Civ. P. 26(f).

 3.       This case is governed by one of the following sets of rules, and the parties’ proposed
          dates in this order have been adjusted accordingly.

          a.       An employment case governed by the Initial Discovery Protocols for Employment
                   cases? https://nysd.uscourts.gov/hon-lorna-g-schofield.
                   [Yes         / No    √ ]

          b.      A case governed by Local Civil Rule 83.10, Plan for Certain § 1983 Cases
                  Against the City of New York? https://nysd.uscourts.gov/rules
                  [Yes                   / No √       ]

          c.       A patent case subject to the Local Patent Rules and the Court’s Individual Rules?
                   https://nysd.uscourts.gov/rules and https://nysd.uscourts.gov/hon-lorna-gschofield
                   [Yes        / No    √         ]


                                                                                       Revised January 3, 2023
     d.     A wage and hour case governed by Initial Discovery Protocols for Fair Labor
            Standards Act? https://nysd.uscourts.gov/hon-lorna-g-schofield.
            [Yes        / No √ ]

4.   Alternative Dispute Resolution/Settlement

     a.     Settlement discussions [have           / have not   √    ] taken place.

     b.     Counsel for the parties have discussed an informal exchange of information in aid
            of early settlement and have agreed to exchange the following:




     c.     Counsel for the parties have discussed the use of the following alternate dispute
            resolution mechanisms for use in this case: (i) a settlement conference before a
            Magistrate Judge; (ii) participation in the District’s Mediation Program; and (iii)
            retention of a private mediator. Counsel for the parties propose the following
            alternate dispute resolution mechanism for this case:

                (ii) Participation in the District’s Mediation Program



     d.     Counsel for the parties recommend that the alternate dispute resolution
            mechanism designated in paragraph 4(c) be employed at the following point in
            the case (e.g., within the next 60 days; after the deposition of plaintiff is
            completed (specify date); after the close of fact discovery):

                  Within the next 60 days


     e.     The use of any alternative dispute resolution mechanism does not stay or
            modify any date in this Order.

5.   No additional parties may be joined after      6/4/23      without leave of Court.

6.   Amended pleadings may be filed without leave of Court until         6/4/23 .

7.   Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later than
         14         days from the date of this Order. [Within 14 days of the parties’ Rule 26(f)
     conference, absent exceptional circumstances.]




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           8.     Fact Discovery

                  a.     All fact discovery shall be completed no later than     9/4/23                  .
                         [A period not to exceed 120 days, unless the Court finds that the case presents
The parties may          unique complexities or other exceptional circumstances.]
modify the dates
contained in      b.     Initial requests for production of documents pursuant to Fed. R. Civ. P. 34 shall
paragraphs 8(b)          be served by         6/19/23             .
through 8(f) by
mutual agreement, c.     Responsive documents shall be produced by        7/19/23   .
provided all fact        Do the parties anticipate e-discovery? [Yes           / No √        ]
discovery is
compete by        d.     Interrogatories pursuant to Fed. R. Civ. P. 33 shall be served by
September 4,                    6/19/23               .
2023.
                  e.     Depositions pursuant to Fed. R. Civ. P. 30, 31 shall be completed by
                             9/4/23                 .

                  f.     Requests to admit pursuant to Fed. R. Civ. P. 36 shall be served by
                             7/19/23                         .

                  g.     Any of the deadlines in paragraphs 8(b) through 8(f) may be extended by the
                         written consent of all parties without application to the Court, provided that
                         all fact discovery is completed by the date set forth in paragraph 8(a).

           9.     Expert Discovery [if applicable]

                  a.     Anticipated types of experts if any:
                                ADA expert regarding accessibility



                  b.     If you have identified types of experts in question 9(a), all expert discovery shall
                         be completed no later than       10/17/23                .
                         [Within 45 days from the date in paragraph 8(a), i.e., the completion of all fact
                         discovery, absent exceptional circumstances.] Omit if you have not identified
                         types of experts.

                  c.     If you have identified types of experts in question 9(a), by 8/3/23 [no later
                         than one month before the date in paragraph 8(a), i.e., the completion of all fact
                         discovery] the parties shall meet and confer on a schedule for expert disclosures,
                         including reports, production of underlying documents and depositions, provided
                         that (i) expert report(s) of the party with the burden of proof shall be due before
                         those of the opposing party’s expert(s); and (ii) all expert discovery shall be
                         completed by the date set forth in paragraph 9(b).


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10.     This case [is        / is not    √   ] to be tried to a jury.

11.     Counsel for the parties have conferred and their present best estimate of the length of trial
        is 2 days                     .

12.     Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
        Fed. R. Civ. P. 26(f)(3), are set forth below:




13.     Status Letters and Conferences

        a.     By 7/5/23 [60 days after the commencement of fact discovery], the parties
               shall submit a joint status letter, as outlined in Individual Rule IV.A.2.

        b.     By 9/18/23             [14 days after the close of fact discovery], the parties shall
               submit a joint status letter, as outlined in Individual Rule IV.A.2 and, in the event
               that they have not already been referred for settlement discussions, shall also
               advise the Court whether or not they request a referral for settlement discussions
               as provided in Paragraph 4(c) above.
                       November 8, 2023 at 4:10 P.M.
        c.     On      xxxxxxxxxxxxxxxxxxxxxxxxxxxx
                       10/31/23        at 10:00 A.M. [usually 14 days after the close of all
               discovery], a pre-motion conference will be held for any anticipated dispositive
               motions, provided:

                    i. A party wishing to file a summary judgment or other dispositive motion
                       shall file a pre-motion letter at least two weeks before the conference and
                       in the form provided in the Court’s Individual Rule III.A.1. Any party
                       wishing to oppose shall file a responsive letter as provided in the same
                       Individual Rule. The motion will be discussed at the conference. To join
                       the conference, the parties shall call (888) 363-4749 and use Access Code
                       558-3333. The time of the conference is approximate, but the parties shall
                       be ready to proceed at that time.

      ii.      If no pre-motion letter is timely filed, this conference will be canceled and the
               matter placed on the Court’s trial-ready calendar. The parities will be notified
               of the assigned trial-ready date and the filing deadlines for pretrial submissions.
               The parties are warned that any settlement discussions will not stay pretrial
               deadlines or the trial date.




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        This Order may not be modified or the dates herein extended, except as provided in
paragraph 8(f)) or by further Order of this Court for good cause shown. Any application to
modify or extend the dates herein, except as provided in paragraph 8(f), shall be made in a
written application in accordance with the Court’s Individual Rules and shall be made no less
than 2 business days prior to the expiration of the date sought to be extended.

        Notwithstanding any other rules governing discovery or other deadlines, the parties
shall follow the deadlines set forth herein unless expressly ordered otherwise by the Court.

        The Clerk of Court is directed to enter the dates under paragraphs 5, 6, 8(a), 9(b)-(c) and
13(a)-(c) into the Court’s calendar, and to schedule the conference under paragraph13(c) as a
Pre-Motion Conference, even though the conference will be held by telephone.



       SO ORDERED.

Dated: April 26, 2023
      New York, New York

                                                              LORNA G. SCHOFIELD
                                                              United States District Judge


Counsel for the Parties:


 Plaintiff                                            B. Bradley Weitz, Esq.


Felix Roasting Co.                                    Mitchell S. Segal, Esq.




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